










Opinion issued May 15, 2008











In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00189-CV




DEUTSCHE BANK TRUST COMPANY AMERICAS,  Appellant

V.

CHARLES BERRY,  Appellee




On Appeal from the 234th District Court 
Harris County, Texas
Trial Court Cause No. 2008-08413




MEMORANDUM OPINIONAppellant Deutsche Bank Trust Company Americas has neither established
indigence, nor paid all the required fees.  See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent), 20.1 (listing requirements for establishing
indigence); see also Tex. Gov’t Code Ann. §§ 51.207 (Vernon 2005), 51.208
(Vernon Supp. 2007); 51.941(a) (Vernon 2005), 101.041 (Vernon Supp. 2007)
(listing fees in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of
appeals).  After being notified that this appeal was subject to dismissal, appellant
Deutsche Bank Trust Company Americas did not adequately respond.  See Tex. R.
App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary dismissal of
case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Keyes and Higley.


